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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MINNESOTA

                                             )
PARTNERS IN NUTRITION d/b/a )                         Case No. 0:22-cv-02195-JRT-JFD
PARTNERS IN QUALITY CARE,                    )
                                             )        PLAINTIFF’S NOTICE OF
    Plaintiff,                               )        VOLUNTARY DISMISSAL
v.                                           )
                                             )
MINNESOTA          DEPARTMENT            OF )
EDUCATION; MONICA HERRERA, in )
her individual capacity and official )
capacity as Director of Nutrition Program )
Services; EMILY HONER, in her )
individual capacity and official capacity as )
Program Integrity Work Manager and )
JEANETTE JOHNSON-REED, in her )
individual capacity and official capacity as )
Supervisor of Compliance,                    )
                                             )
    Defendants.                              )
                                             )


         PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules

of Civil Procedure, Plaintiff, Partners in Nutrition, d/b/a Partners in Quality Care hereby

dismisses without prejudice its action against the above-named defendants.

         Dated this 9th day of November, 2022.




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                                       ATTORNEYS FOR PLAINTIFF PARTNERS
                                       IN NUTRITION d/b/a PARTNERS IN
                                       QUALITY CARE




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